     Case 3:20-cv-00286-W-AGS Document 52 Filed 03/28/22 PageID.621 Page 1 of 1



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 8                         UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA, et al.;                  Case No.: 3:20-cv-286 W (AGS)
     ex rel. EVEREST PRINCIPALS, LLC,
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                          Plaintiffs and Relator,       ORDER TERMINATING MOTION
13                                                      TO DISMISS AS MOOT [DOC. 30]
     v.
14
     ABBOTT LABORATORIES and
15
     ABBOTT CARDIOVASCULAR
16   SYSTEMS INC.,
17                                  Defendants.
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19         On July 29, 2021, Defendants moved to dismiss Plaintiffs’ Complaint for failure to
20   state a claim. [Doc. 30]. Plaintiffs amended their Complaint on August 19, 2021, in
21   response. [Doc. 35]. Accordingly, Defendants’ Motion to Dismiss Plaintiffs’ Complaint
22   [Doc. 30] is TERMINATED AS MOOT.
23         IT IS SO ORDERED.
24   Dated: March 28, 2022
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